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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LEPATNER & ASSOCIATES, LLP,

1:21-CV-3890 (JSR)
Plaintiff,
PROTECTIVE ORDER

RSUI GROUP, INC.,

Defendant.

 

JED S. RAKOFF, U.S.D.J.

The parties having agreed to the following terms of confidentiality, and the Court having found
that good cause exists for issuance of an appropriately tailored confidentiality order governing the pre-
trial phase of this action, it is therefore hereby

ORDERED that any person subject to this Order -- including without limitation the parties to this action,
their representatives, agents, experts and consultants, all third parties providing discovery in this action, and all
other interested persons with actual or constructive notice of this Order -- shall adhere to the following terms,
upon pain of contempt:

1, Any person subject to this Order who receives from any other person any “Discovery
Material” (i.e., information of any kind provided in the course of discovery in this action) that is designated as
“Confidential” pursuant to the terms of this Order shall not disclose such Confidential Discovery Material to
anyone else except as expressly permitted hereunder.

2, The person producing any given Discovery Material may designate as Confidential only

such portion of such material as consists of:

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(a) previously nondisclosed financial information (including without limitation
profitability reports or estimates, percentage fees, design fees, royalty rates, minimum
guarantee payments, sales reports and sale margins); previously nondisclosed material
relating to ownership or control of any non-public company;

(b) previously nondisclosed business plans, product development information, or
marketing plans;

(c) previously nondisclosed material that the producing party reasonably deems to
constitute sensitive or proprietary, technical, marketing, personal, commercial, or other
business information or data that is entitled to protection;

(d) any information of a personal or intimate nature regarding any individual; or

(e) any other category of information hereinafter given confidential status by the
Court.

3. With respect to the Confidential portion of any Discovery Material other than deposition
transcripts and exhibits, the producing person or that person's counsel may designate such portion as
“Confidential” by stamping or otherwise clearly marking as “Confidential” the protected portion in a manner
that will not interfere with legibility or audibility, and by also producing for future public use another copy of
said Discovery Material with the confidential information redacted. With respect to deposition transcripts and
exhibits, a producing person or that person's counsel may indicate on the record that a question calls for
Confidential information, in which case the transcript of the designated testimony shall be bound in a separate
volume and marked "Confidential Information Governed by Protective Order" by the reporter.

4. If at any time prior to the trial of this action, a producing person realizes that some
portion[s] of Discovery Material that that person previously produced without limitation should be

designated as Confidential, he may so designate by so apprising all parties in writing, and such

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designated portion[s] of the Discovery Material will thereafter be treated as Confidential under the terms

of this Order.

5.

No person subject to this Order other than the producing person shall disclose any of the

Discovery Material designated by the producing person as Confidential to any other person whomsoever,

except to:

(a) the parties to this action;

(b) counsel retained specifically for this action, including any paralegal, clerical and
other assistant employed by such counsel and assigned to this matter;

(c) as to any document, its author, its addressee, and any other person indicated on
the face of the document as having received a copy;

(d) any witness who counsel for a party in good faith believes may be called to testify at
trial or deposition in this action, provided such person has first executed a Non-Disclosure
Agreement in the form annexed as an Exhibit hereto;

(e) any person retained by a party to serve as an expert witness or otherwise provide
specialized advice to counsel in connection with this action, provided such person has first
executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

(H any person retained by a party to serve as a consultant, investigator, service vendor
(including, by way of example, outside copying, e-discovery and litigation support services),

(g)  stenographers engaged to transcribe depositions conducted in this action;

(h) any mediator agreed to by the parties to preside over a mediation of this action;

(i) any person as required by law, regulation, the rules of any governmental agency

or the order of a court of competent jurisdiction;

 

 

 

 

 
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Qj) any regulator, auditor, accountant, insurer, reinsurer, insurer’s/reinsurer’s third-
party service provider, actuary, reinsurance intermediary, or retrocessionaire who, in the
normal course of business, would have access to, or to whom a party has a business,
legal, regulatory obligation to provide such information;

(k) any person agreed to by the parties; and

(1) the Court and its support personnel.

6. Prior to any disclosure of any Confidential Discovery Material to any person referred to in
subparagraphs 5(d), 5(e), or 5(f) above, such person shall be provided by counsel with a copy of this Protective
Order and shall sign a Non-Disclosure Agreement in the form annexed as an Exhibit hereto stating that that
person has read this Order and agrees to be bound by its terms. Said counsel shall retain each signed Non-
Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either prior to such person being
permitted to testify (at deposition or trial) or at the conclusion of the case, whichever comes first.

7. All Confidential Discovery Material filed with the Court, and all portions of pleadings,
motions or other papers filed with the Court that disclose such Confidential Discovery Material, shall be filed
under seal with the Clerk of the Court and kept under seal until further order of the Court. The parties will use
their best efforts to minimize such sealing. In any event, any party filing a motion or any other papers with the
Court under seal shall also publicly file a redacted copy of the same, via the Court’s Electronic Case Filing
system, that redacts only the Confidential Discovery Material itself, and not text that in no material way reveals
the Confidential Discovery Material.

8. Any party who either objects to any designation of confidentiality, or who, by contrast,
requests still further limits on disclosure (such as “attorneys’ eyes only” in extraordinary circumstances),
may at any time prior to the trial of this action serve upon counsel for the designating person a written

notice stating with particularity the grounds of the objection or request. If agreement cannot be reached

 

 

 

 

 

 

 

 
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promptly, counsel for all affected persons will convene a joint telephone call with the Court to obtain a
ruling.

9, All persons are hereby placed on notice that the Court is unlikely to seal or otherwise afford
confidential treatment to any Discovery Material introduced in evidence at trial, even if such material has
previously been sealed or designated as Confidential. The Court also retains unfettered discretion
whether or not to afford confidential treatment to any Confidential Document or information contained in any
Confidential Document submitted to the Court in connection with any motion, application, or proceeding that may
result in an order and/or decision by the Court.

10. Each person who has access to Discovery Material that has been designated as
Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure of such
material.

11. If, in connection with this litigation, a party inadvertently discloses information subject
to a claim of attorney-client privilege or attorney work product protection (“Inadvertently Disclosed
Information”), such disclosure shall not constitute or be deemed a waiver or forfeiture of any claim of
privilege or work product protection with respect to the Inadvertently Disclosed Information and its
subject matter.

12. If a disclosing party makes a claim of inadvertent disclosure, the receiving party shall not
thereafter review the Inadvertently Disclosed Information for any purpose, except by order of the Court.
The receiving party shall, within five business days, return or destroy all copies of the Inadvertently
Disclosed Information, and provide a certification of counsel that all such information has been returned

or destroyed.

 

 

 

 

 

 

 

 
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13. Within five business days of the notification that such Inadvertently Disclosed
Information has been returned or destroyed, the disclosing party shall produce a privilege log with respect
to the Inadvertently Disclosed Information.

14. As with any information redacted or withheld, the receiving party may move the Court
for an Order compelling production of the Inadvertently Disclosed Information. The motion shall be filed
under seal, and shall not assert as a ground for entering such an Order the fact or circumstances of the
inadvertent production.

15, The disclosing party retains the burden of establishing the privileged or protected nature
of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of any party to
request an in camera review of the Inadvertently Disclosed Information.

16. Nothing herein shall be deemed to waive any privilege recognized by law, or shall be
deemed an admission as to the admissibility in evidence of any facts or documents revealed in the course
of disclosure.

17. This Protective Order shall survive the termination of the litigation. Within 30 days of the
final disposition of this action, all Discovery Material designated as “Confidential,” and all copies thereof,
shall be promptly returned to the producing person, or, upon permission of the producing person,
destroyed, except as required by a party’s standard record destruction procedures, in which case the party
shall maintain all such information, documents, or other material designated as “Confidential” in its
standard storage facility and shall destroy the documents in accordance with its standard record
destruction procedures, subject to any applicable litigation hold or other document or information hold
imposed by any government agency or court order. Notwithstanding the requirements of this paragraph,
any party may retain a complete set of all documents filed with the Court, subject to all other restrictions

of this Order.

 

 

 

 

 

 

 
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18. This Court shall retain jurisdiction over all persons subject to this Order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any contempt thereof. é

SO STIPULATED AND AGREED.

/s/ Carl A. Salisbury

 

  

Dated: October 12, 2021

SO ORDERED.

    

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JED S. RAKOFF, U.S.D.J.

 

Dated: New York, New York

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LEPATNER & ASSOCIATES, LLP,

 

1:21-CV-3890 (JSR)
Plaintiff

 

NON-DISCLOSURE AGREEMENT

 

RSUI GROUP, INC.,

 

Defendant.

 

I, . , acknowledge that I have read and understand the

 

Protective Order in this action governing the nondisclosure of those portions of Discovery Material that have
been designated as Confidential. I agree that I will not disclose such Confidential Discovery Material to
anyone other than for purposes of this litigation and that at the conclusion of the litigation I will return all
discovery information to the party or attorney from whom I received it. By acknowledging these obligations
under the Protective Order, I understand that I am submitting myself to the jurisdiction of the United States
District Court for the Southern District of New York for the purpose of any issue or dispute arising hereunder
and that my willful violation of any term of the Protective Order could subject me to punishment for contempt

of Court.

Dated:

 

 

 

 

 
